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Ultimate Fighting Championship and UFC

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
Cung Le, Nathan Quarry, Jon Fitch, Brandon Case No.: 2:15-cv-01045-RFB-(BN W)
Vera, Luis Javier Vazquez, and Kyle
Kingsbury on behalf of themselves and all SUPPLEMENTAL
others similarly situated, DECLARATION OF W. HUNTER
CAMPBELL IN SUPPORT OF
Plaintiffs, DEFENDANT ZUFFA, LLC’S
Vv. OBJECTION AND REQUEST
FOR CLARIFICATION OF THE
Zuffa, LLC, d/b/a Ultimate Fighting COURT’S MINUTE ORDER (ECF
Championship and UFC, NO. 782)
Defendant.

 

 

 

SUPPL. CAMPBELL DECL. ISO ZUFFA OBJ. AND
REQ. FOR CLARIFICATION RE: ECF NO. 782

 
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I, William Hunter Campbell, declare as follows:

1. lam over 21 years old. ] have personal knowledge of the facts stated in this
declaration and if called to testify, I could and would competently testify to these facts. lam a
member in good standing of the State Bar of Nevada. I am Chief Business Officer (“CBO”) and
Executive Vice President of defendant Zuffa, LLC (“Zuffa’’), d/b/a Ultimate Fighting
Championship® (“UFC”). UFC is a mixed martial arts (“MMA”) promoter. Prior to serving as
Zuffa’s CBO, I was the Chief Legal Officer of Zuffa from 2017 to 2019. Prior to 2017, I
represented Zuffa as outside counsel on several matters.

2. I make this supplemental declaration in support of Zuffa’s Objection and Request
for Clarification of the Court’s January 6, 2021 Minute Order, ECF No. 782 (“January 6 Order’).

3, Through my role as Zuffa’s CBO and CLO, as well as from my representation of
Zuffa, I am familiar with Zuffa’s practice of maintaining the confidentiality of Zuffa’s financial
information. Zuffa executives and employees keep financial information—including revenue and
compensation information, both on an individual level—private and confidential. Zuffa’s event-
level financials, including compensation and spending information, are considered highly
confidential. This information is not disseminated broadly because Zuffa’s business partners,
including sponsors, venues, and others, could use this information to gain an advantage over
Zuffa in negotiations. I am also familiar with Zuffa’s practice for maintaining confidential
information, financial projections, business analysis, and strategies. Zuffa does not share this
information broadly, and uses it to make decisions about product investment, development, and
new ideas for events and content.

4, I understand that the Court is considering unsealing and making public all
documents in this case. In June 2019, I submitted a declaration in this matter explaining that
some of the materials in this case contain Zuffa’s highly sensitive business information, which we
keep private and which, if released, would allow our competitors to gain a competitive advantage.
Decl. of W. Hunter Campbell, ECF No. 665-4; see also ECF No. 565-3.

5. As of this date, the information referenced in my earlier declaration is still highly

sensitive business information, which, if released would still allow our competitors to gain an

SUPPL. CAMPBELL DECL. ISO ZUFFA OBJ. AND
REQ FOR CT ARIFICATION RE: ECF NO 787

 
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unearned competitive advantage.
6. On January 11, 2021, I was on a seventeen-hour flight to Abu Dhabi and unable to

execute this document.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing facts are true and correct. Executed this 12th day of January, 2021 in Abu Dhabi.

WEL

Wm. Hunter Campbell

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SUPPL. CAMPBELL DECL. ISO ZUFFA OBJ. AND
REQ FOR CT ARTIFICATION RF: FCF NO 789

 
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SUPPL. CAMPBELL DECL. ISO ZUFFA OBJ. AND
REO FOR CT ARIFICATION RFE: ECE NO 72?

 
